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                                                          September 9, 2021
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 7                          UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9                                              Case No. 2:20-cv-08963-SB-RAO
10    PRESTIGE TRANSPORTATION,
      INC., et al.,
11
12                              Plaintiffs,
13                                                  FINAL JUDGMENT
      v.
14
15    UNITED STATES SMALL
      BUSINESS ASSOCIATION, et al.,
16
17                              Defendants.
18
19
20          For the reasons set forth in the Order on Motion to Dismiss entered on July 26,
21   2021, and the separate Order on Motion for Judgment on the Pleadings entered this
22   day, it is
23          ORDERED AND ADJUDGED that Plaintiffs Prestige Transportation Inc.,
24   Superior Overnight Services, Inc., Amerilogistics Group Inc., and STAM Properties,
25   LLC shall take nothing on their claims against Defendants the U.S. Small Business
26   Administration (SBA) and the SBA Administrator and Secretary of the U.S.
27   Department of the Treasury in their official capacities. Plaintiff STAM Properties,
28   LLC’s claims are DISMISSED without prejudice for lack of Article III standing, and

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 1   the other Plaintiffs’ claims are DISMISSED on the merits with prejudice.
 2         This is a Final Judgment.
 3
 4   Dated: September 9, 2021     _____________________________________
 5                                       STANLEY BLUMENFELD, JR.
                                       UNITED STATES DISTRICT JUDGE
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